993 F.2d 1537
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Michael T. GOSSETT, Petitioner-Appellant,v.STATE OF SOUTH CAROLINA;  Attorney General of the State ofSouth Carolina, Respondents-Appellees.
    No. 93-6243.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  May 3, 1993Decided:  May 27, 1993
    
      Appeal from the United States District Court for the District of South Carolina, at Columbia.  G. Ross Anderson, Jr., District Judge.  (CA-93-45-3AK)
      Michael T. Gossett, Appellant Pro Se.
      D.S.C.
      DISMISSED.
      Before RUSSELL and HALL, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Michael T. Gossett seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. § 2254 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Gossett v. South Carolina, No. CA-93-45-3AK (D.S.C. Feb. 18, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    